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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO
SHARON BEGAY-McCABE,
Individually, and as Administrator for the
Estate of Sharinda Felocita Chavez,

              Plaintiff,

v.                                                          CV 13-1052 RB/CG

UNITED STATES OF AMERICA,

              Defendant.

              ORDER SETTING TELEPHONIC STATUS CONFERENCE

       This matter is before the Court upon review of the record. IT IS HEREBY

ORDERED that a status conference will be held by telephone on Thursday, August

28, 2014, at 2:00 p.m.

       Parties shall call Judge Garza’s “Meet Me” line at 505.348.2693 to be connected

to the proceedings.




                                             CARMEN E. GARZA
                                             UNITED STATES MAGISTRATE JUDGE
